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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division

                                     Case No. 20-cv-22967-BLOOM

  OPTIMUS MSO II INC.,

          Plaintiff,

  vs.

  SIMPLY HEALTHCARE PLANS, INC.,

          Defendant.

  ___________________________________________/

                             PLAINTIFF’S RESPONSE IN
                   OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

        Plaintiff, OPTIMUS MSO II INC. (“Plaintiff”), by and through undersigned counsel,

  hereby files this RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

  (the “Response”) and in support thereof states as follows:1

                                         STANDARD OF REVIEW

          A “motion to dismiss tests whether a plaintiff has alleged a good cause of action in his

  or her complaint.” Visor v. Buhl, 760 So. 2d 274, 275 (Fla. 4th DCA 2000). “The function of a

  motion to dismiss a complaint is to raise as a question of law the sufficiency of the facts

  alleged to state a cause of action.” Chaires v. N. Florida Nat. Bank, 432 So. 2d 183, 184 (Fla.

  1st DCA 1983). The Federal Rules provide that a complaint must only contain a statement

  calculated to give the defendant fair notice of the plaintiff’s claim and the grounds upon which


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    Plaintiff does not waive, and indeed expressly retains, the right to seek to remand the present action to
  the Circuit Courts of the State of Florida on grounds that federal subject matter jurisdiction is lacking.
  Specifically, Defendant has not actually allegedy any defenses to the present action that would allow for
  Defendant to seek removal as a “Federal Officer” pursuant to 28 U.S.C. § 1442(a)(1). On the contrary,
  Defendant has merely sought a dismissal without presenting any affirmative defenses. To the extent
  Defendant does not ultimately have any defenses as a “Federal Officer,” this matter will ultimately have to
  be remanded for want of subject matter jurisdiction.

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  it rests. U.S. v. Baxter Intern., Inc., 345 F.3d 866, 881 (11th Cir. 2003) (“We have observed

  that the threshold of sufficiency to which a complaint is held at the motion-to-dismiss stage

  is ‘exceedingly low.’”)

          Under Florida law, “[a] motion to dismiss under rule 1.140(b) tests whether the

  plaintiff has stated a cause of action, not whether the plaintiff will prevail at trial.” Lonestar

  Alternative Solution, Inc. v. Leview-Boymelgreen Soleil Developers, LLC, 2009 WL 1457029,

  *2 (Fla. 3d DCA May 27, 2009) (citing Meadows Cmty. Ass’n v. Russell- Tutty, 928 So.2d 1276,

  1280 (Fla. 2d DCA 2006)).2

          In ruling on a motion to dismiss, the Court must confine itself strictly to the

  allegations within the four corners of the complaint. See Biscayne Investment Group, Ltd. v.

  Guarantee Management Servs., 903 So. 2d 251, 253 (Fla. 3d DCA 2005); Kest v. Nathanson,

  216 So. 2d 233, 235 (Fla. 4th DCA 1968); Pizzi v. Central Bank and Trust Co., 250 So. 2d 895,

  897 (Fla. 1971); Airport Sign Corp. v. Dade County, 400 So.2d 828 (Fla. 3d DCA 1981).

          The Court must accept the allegations in the complaint as true. Nero v. Continental

  Country Club R.O., Inc., 979 So. 2d 263, 267 (Fla. 5th DCA 2007); see also Popwell v. Abel,

  226 So.2d 418, 420 (Fla. 4th DCA 1969).               All reasonable inferences arising out of the

  allegations must be construed in favor of the plaintiff. Simon v. Tampa Elec. Co., 202 So. 2d

  209, 211 (Fla. 2d DCA 1967).




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    The standard applicable to a Court's consideration of a motion to dismiss is well settled: “The trial court
  is bound by the four corners of the complaint and attachments, and all ambiguities and inferences drawn
  from ‘the recitals in the complaint, together with the exhibits attached,’ must be construed in the light most
  favorable to the plaintiff.” Lonestar Alternative Solution, Inc. v. Leview-Boymelgreen Soleil Developers,
  LLC, 10 So.3d 1169, 1172 (Fla. 3d DCA 2009), quoting, in part, Vienneau v. Metro. Life Ins. Co., 548 So.
  2d 856, 858 (Fla. 4th DCA 1989); United Auto. Ins. Co. v. Law Offices of Michael I. Libman, 46 So.3d 1101
  (Fla. 3d DCA 2010).

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                                             LEGAL ARGUMENT

           Defendant’s Motion to Dismiss Counts II, III, IV, and V should be denied entirely for

  the reasons set forth herein below.

      I.       DEFENDANT’S MOTION TO DISMISS COUNT II FOR AN “ACCOUNTING” SHOULD
               BE DENIED.

           Defendant’s Motion to Dismiss argues that Count II, which seeks an “Accounting,”

  should be dismissed because “Count II is an equitable claim that is not available to Plaintiff

  and thus fails to state a claim.”          See Motion to Dismiss at 3.           Defendant’s arguments

  misconstrue the law regarding actions for an “Accounting” and the Motion to Dismiss should

  therefore be denied.

           Much of Defendant’s argument regarding the action for an “Accounting” is premised

  upon the decision of Zaki Kulaibee Establishment v. McFliker, 771 F.3d 1301 (11th Cir.

  2014)). See Motion to Dismiss at 4. Contrary to the erroneous conclusions within the Motion

  to Dismiss, an action for an “Accounting” is properly alleged and a dismissal would be

  improper.

           “An accounting is grounded in equity and best understood as a remedy for a cause of

  action, not as a cause of action in its own right.” Cox Television Jacksonville, LLC v. Florida

  Cable, Inc., 5:16-CV-6-OC-32PRL, 2016 WL 11578269, at *6 (M.D. Fla. July 13, 2016)3 (citing

  Zaki Kulaibee Establishment v. McFliker, 771 F.3d 1301, 1310 n.21 (11th Cir. 2014)). To

  survive a Motion to Dismiss, Plaintiff need merely allege (i) ultimate facts showing a basis

  for a “complicated transaction” and (ii) that there may be an “inadequate remedy at law.” Id.


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    Under Florida law, to be entitled to an equitable accounting “a party must show either (1) a sufficiently
  complicated transaction and an inadequate remedy at law or (2) the existence of a fiduciary relationship.
  Id. at 1311. In other words, “there can be grounds for an equitable accounting where the contract demands
  between litigants involve extensive or complicated accounts and it is not clear that the remedy at law is as
  full, adequate and expeditious as it is in equity.” Trenton Int’l, Ltd. v. Trenton Int’l, Inc., No. 2:05XCV581
  FTM29SPC, 2006 WL 3201869, at *4 (M.D. Fla. 2006) (quoting Chiron c. Isram Wholesale Tours and Travel
  Ltd., 519 So. 2d 1102, 1103 (Fla. Dist. Ct. App. 1988)).

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             a. COMPLEXITY OF THE TRANSACTIONS

       As to complexity, transactions are deemed “sufficiently complicated to warrant an

  equitable accounting when a jury would not be reasonably able, based on the time and effort

  required, to assess the evidence and reach an accurate value of the amount owed.” Blitz

  Telecom Consulting, LLC v. Peerless Network, Inc., No. 614CV307ORL40GJK, 2015 WL

  9269413, at *9 (M.D. Fla. Dec. 21, 2015) (citing Managed Care Solutions, Inc. v. Essent

  Healthcare, Inc., 694 F. Supp. 2d 1275, 1279–81 (S.D. Fla. 2010) ). “[T]he determination of

  whether a series of transactions is sufficiently complex to warrant equitable accounting is

  fact specific.” Traditions Senior Mgmt., Inc. v. United Health Adm’rs, Inc., No. 8:12-CV-2321-

  T-30MAP, 2013 WL 3285419, at *5 (M.D. Fla. 2013) (citing Managed Care Solutions, Inc.,

  694 F. Supp. 2d at 1281).

       It is clear from the Complaint that the transactions at issue in this litigation are highly

  complex. Defendant does not even attempt to argue that such transactions are not highly

  complex in nature, as such an argument would be absurd. In any event, the “complexity” of

  the transactions is not subject to a motion to dismiss because the issue of “complexity” is

  inherently “fact specific.” See Traditions Senior Mgmt., 2013 WL 3285419, at *5.

             b. INADEQUATE REMEDY AT LAW

       As to the issue of “the adequacy of the remedy,” when a “breach of contract claim does

  not—as a practical matter—provide an adequate remedy at law, an equitable accounting

  is warranted.” See Zaki Kulaibee Establishment, 771 F.3d at 1315 (finding an equitable

  accounting warranted where it was necessary to prove the damages element of a breach of

  contract claim); see also Cox Television Jacksonville, LLC v. Florida Cable, Inc., 5:16-CV-6-

  OC-32PRL, 2016 WL 11578269, at *6 (M.D. Fla. July 13, 2016) (finding same).

       The adequacy of the remedy at law, in the context of the current action for an

  “Accounting,” is therefore subject to a factual dispute that does not lend itself to a dismissal

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  as a matter of law. See Novak v. Ackley, Ackley & Wise, D.M.D.’s, P.A., No. 8:06-CV-1673-T-

  27, 2006 WL 3313852, at *2 (M.D. Fla. 2006) (denying a motion to dismiss an accounting

  claim and stating “[a]t this stage of the litigation, the [c]ourt is not able to conclude that it

  appears beyond doubt that [p]laintiff can prove no set of facts in support of his claim”); see

  also Cox Television Jacksonville, 2016 WL 11578269, at *7 (M.D. Fla. July 13, 2016) (denying

  a motion to dismiss action for an “Accounting” for precisely the same reason). Thus, the

  adequacy of the remedy at law in the instant case is a factual matter and is not subject to

  dismissal.

       For the foregoing reasons, Defendant’s Motion to Dismiss as to Count II should be

  denied entirely.

     II.       DEFENDANT’S MOTION TO DISMISS COUNT III FOR “FRAUD” SHOULD BE
               DENIED.

       Defendant’s Motion to Dismiss argues that Count III, an action for “Fraud,” should be

  dismissed because “Count III fails to state a claim because it is not pleaded with sufficient

  particularity under Rule 9(b).” See Motion to Dismiss at 5. Plaintiff has adequately alleged

  an action for fraud and, as a result, the Motion to Dismiss should be denied with respect to

  Count III.

       In order to state a cause of action for fraud in the inducement, a plaintiff must allege

  that 1) the representor made a misrepresentation of a material fact, 2) the representor knew

  or should have known of the falsity of the statement, 3) the representor intended that the

  representation would induce another to rely and act on it, and 4) the plaintiff suffered injury

  in justifiable reliance on the representation. Biscayne Inv. Group, Ltd. v. Guarantee

  Management Services, Inc., 903 So. 2d 251(Fla. 3rd DCA 2005). If the fraud occurs in

  connection with misrepresentations, statements or omissions which cause a party to enter




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  into a transaction, then such fraud is fraud in the inducement and survives as an independent

  tort. Allen v. Stephan Co., 784 So. 2d 456, 457 (Fla. 4th DCA 2000).

       Contrary to the conclusory assertions within the Motion to Dismiss, specific instances

  of “fraud” are alleged throughout the Complaint. See Complaint at ¶¶ 24-32, 45-48, 54-60.

  In particular, the Complaint alleges specifically that Defendant defrauded Plaintiff with

  respect to premiums for “Medicare “Stop- Loss” protection for the first thousand (1,000) of

  Optimus’ ‘members.’” Id. at ¶ 24.

       Plaintiff has therefore adequately alleged a cause of action for “fraud” against

  Defendant.      Defendant may attempt to deny Plaintiff’s allegations as to Defendant’s

  fraudulent conduct, but Defendant is not entitled to a dismissal of Count III.

     III.      DEFENDANT’S MOTION TO DISMISS COUNT IV FOR “VIOLATION OF FLORIDA’S
               DECEPTIVE AND UNFAIR TRADE PRACTICES ACT” SHOULD BE DENIED.

       Defendant’s Motion to Dismiss argues that Count IV, an action for “Violation Of

  Florida’s Deceptive and Unfair Trade Practices Act,” should be dismissed because “Count IV

  fails to state a claim because the Complaint has not adequately asserted facts showing

  consumer injury or detriment.” See Motion to Dismiss at 8. Plaintiff has adequately alleged

  an action for violation of Florida’s Deceptive and Unfair Trade Practices Act and, as a result,

  the Motion to Dismiss should be denied with respect to Count IV.

       Defendant’s argument in support of its Motion to Dismiss amounts to a blind assertion

  that “Count IV does not assert any facts showing consumer injury or detriment; instead, it

  merely alleges in a conclusory fashion that Plaintiff is a ‘consumer’ under the expanded

  statutory definition.” See Motion to Dismiss at 10. However, Defendant’s focus upon the

  term “consumer” in the Motion to Dismiss is erroneous under current applicable law.

            FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or practices,

  and unfair or deceptive acts or practices in the conduct of any trade of commerce.” §


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  501.204(1), Fla. Stat.    The purpose of the act is to “protect the consuming public and

  legitimate business enterprises from those who engage in unfair methods of competition, or

  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

  commerce.” § 501.202(2).

         The term “trade or commerce” is defined to mean the “advertising, soliciting,

  providing, offering, or distributing, whether by sale, rental, or otherwise, of any good or

  service, or any property, whether tangible or intangible, or any other article, commodity, or

  thing of value, wherever situated.” § 501.203(8). To achieve its goal of protecting consumers

  and businesses from unfair, unconscionable, or deceptive acts or practices, FDUTPA must be

  “construed liberally.” § 501.202.

         Prior to 2001, FDUTPA provided, in part, as follows:

         In any individual action brought by a consumer who has suffered a loss as a result of
         a violation of this part, such consumer may recover actual damages, plus attorney's
         fees and court costs as provided in s. 501.2105 . . ..

  § 501.211(2), Fla. Stat. (2000) (emphasis added).

         After the 2001 amendment to section 501.211(2), the statute now reads as follows:

         In any action brought by a person who has suffered a loss as a result of a violation of
         this part, such person may recover actual damages, plus attorney's fees and court
         costs as provided in s. 501.2105 . . ..

  § 501.211(2), Fla. Stat. (2001) (emphasis added).

         The amendment specifically changed who could bring an action from “a consumer” to

  “a person.” Additionally, during the same session, the Legislature also amended section

  501.203(7), Florida Statutes, to change the definition of “consumer” to include a “business”

  and “commercial entity.” Compare § 501.203(7), Fla. Stat. (2000) (“‘Consumer’ means an

  individual; child, by and through its parent or legal guardian; firm; association; joint venture;

  partnership; estate; trust; business trust; syndicate; fiduciary; corporation; or any other


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  group or combination.”), with § 501.203(7), Fla. Stat. (2001) (“‘Consumer’ means an

  individual; child, by and through its parent or legal guardian; business; firm; association;

  joint venture; partnership; estate; trust; business trust; syndicate; fiduciary; corporation; any

  commercial entity, however denominated; or any other group or combination.”) (emphasis

  added).

         This Court has considered the change in language and has concluded that the 2001

  amendments broadened the scope of FDUTPA such that non-consumers may maintain

  actions under the act. Analyzing the different lines of cases on the issues, this Court in Kelly

  v. Palmer, Reifler, & Associates, P.A., 681 F. Supp.2d 1356, 1373 (S.D. Fla. 2010) concluded

  as follows:

         Applying a liberal construction to § 501.211(2), as we are compelled to do when
         construing the provisions of FDUTPA, see § 501.202, we see no reason not to conclude
         that replacing the term “consumer” with “person” served to broaden the reach of the
         statute so that more than just consumers could avail themselves of the protection of
         this statute. We agree with the line of cases that so hold as a matter of standing to
         sue. Concluding that a non-consumer may maintain an action for damages under
         FDUTPA, we find that the Palmer Law Firm is not entitled to summary judgment merely
         because Plaintiffs are non-consumers.

         The Kelly decision was subsequently considered by the Florida Fourth District Court

  of Appeal when confronted with the issue in Caribbean Cruise Line, Inc. v. Better Business

  Bureau of Palm Bach County, Inc., 169 So. 3d 164 (Fla. 4th DCA 2015). In that decision, the

  Fourth District considered the 2001 amendment to FDUTPA, the reasoning employed in

  Kelly, and concluded that the legislative change from “consumer” to “person” broadened the

  scope of FDUTPA such that the act is no longer intended to apply only to traditional

  conceptions of “consumers.” 169 So. 3d at 169; see also BPI Sports, LLC v. Labdoor, Inc.,

  2016 WL 739652 (S.D. Fla. Feb. 25, 2016) (concluding that FDUTPA is not limited to cases




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  where the plaintiff is a traditional consumer or which involved a traditional consumer

  transaction).4

            Considering that this Court’s role is to determine what position Florida courts would

  take on the issue, see Erie Railroad Co. v. Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82 L.Ed. 1188

  (1938), and considering that the Fourth District Court of Appeal has squarely addressed the

  issue, the analysis should end there.

            As a result, Plaintiff has adequately stated a cause of action under Florida’s Deceptive

  and Unfair Trade Practices Act. Defendant erroneously relies upon outdated law in its

  interpretation of the coverage of the Act, particularly with respect to the term “consumer.”

  As a result, the Motion to Dismiss should be denied with respect to Count IV.

      IV.      DEFENDANT’S MOTION TO DISMISS COUNT V FOR “TORTIOUS INTERFERENCE”
               SHOULD BE DENIED.

        Defendant’s Motion to Dismiss argues that Count V, an action for “Tortious

  Interference,” should be dismissed because “Count V fails to state a claim because the

  Complaint lacks factual support for the essential elements of a tortious interference cause of

  action.” See Motion to Dismiss at 10-11. Plaintiff has adequately alleged an action for

  Tortious Interference and, as a result, the Motion to Dismiss should be denied with respect

  to Count V.




  4
    FDUTPA has been routinely applied by the courts in Florida (state and federal) to disputes involving
  business-to-business dealings that do not involve purely “consumer” transactions in the traditional sense
  of the word.. See, e.g., Creative American Education, LLC v. The Learning Experience Systems, LLC, 2015
  WL 2218847 (S.D. Fla. May 11, 2015) (allowing a FDUTPA claim based on a franchisor’s actions in
  connection with the management of the franchise); KC Leisure, Inc. v. Haber, 972 So. 2d 1069 (5th DCA
  2008) (allowing a FDUTPA claim against a business and its principals for failing to provide disclosures as
  required by the Federal Trade Commission); Copans Motors, Inc. v. Porsche Cars North America, Inc., 2014
  WL 2612308, at *6 (S.D. Fla. June 11, 2014) (allowing a FDUTPA claim against a distributor alleged to have
  made misrepresentations to a dealer, and further noting that whether an act is “unfair or deceptive is a
  question for the fact finder”).

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       The Motion to Dismiss argues, via purported examples that are misleading at best, that

  Plaintiff has not alleged sufficient ultimate facts to support a claim for tortious interference.

  This is simply untrue based on the four corners of the Complaint.

       Plaintiff’s Complaint clearly alleges ultimate facts regarding tortious interference with

  respect to Plaintiff’s MSO “members.” See Complaint at ¶¶ 78-80, 83-87 (wherein Plaintiff

  alleges how Defendant tortious interfered with Plaintiff’s MSO “members”). Plaintiff is not

  obligated to plead tortious interference with particularity; Defendant can take appropriate

  discovery if it wishes to obtain more information/documents that support Plaintiff’s claim.

       Plaintiff’s Complaint adequately alleges ultimate facts to support a claim for tortious

  interference. Defendant may deny such allegations, but Defendant is not entitled to a

  dismissal as a matter of law. As a result, the Motion to Dismiss should be denied with respect

  to Count V.

       WHEREFORE, Plaintiff, OPTIMUS MSO II INC., respectfully requests that this Court

  enter an Order (i) denying Defendant’s Motion to Dismiss as to Count II; (ii) denying

  Defendant’s Motion to Dismiss as to Count III; (iii) denying Defendant’s Motion to Dismiss

  as to Count IV; (iv) denying Defendant’s Motion to Dismiss as to Count V; and (v) granting

  such other relief as is just and proper.

  Dated: August 19, 2020.                     Respectfully submitted,

                                              HIRZEL DREYFUSS & DEMPSEY PLLC
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

  Notification to all parties registered to receive electronic notice on this 19th day of August,

  2020.

                                             By: /s/ Patrick G. Dempsey
                                                     PATRICK DEMPSEY




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